      Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 1 of 54 PageID #:1




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 YURY GRENADYOR, individually, and
 on behalf of all others similarly situated,

        Plaintiff,
                                                      Case No. 1:21-cv-02980
 v.

 SN SERVICING CORPORATION,

        Defendant.

                                CLASS ACTION COMPLAINT

       NOW COMES Plaintiff, YURY GRENADYOR, individually, and on behalf of all others

similarly situated, through undersigned counsel, pursuant to Fed. R. Civ. P. 23, complaining of

Defendant, SN SERVICING CORPORATION, as follows

                                     NATURE OF ACTION

       1.      This action is brought pursuant to Fed. R. Civ. P. 23 by Plaintiff, individually, as

well as on behalf of all others similarly situated, seeking redress for Defendant’s violation(s) of

the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq.; Regulation X, which

implements the provisions of the Real Estate Settlement Procedures Act ("RESPA"), 12 C.F.R. §

1024 et seq.; and the Illinois Consumer Fraud and Deceptive Business Practices Act ("ICFA"),

815 ILCS 505/1 et seq.

                                 JURISDICTION AND VENUE

       2.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.

       3.      Venue in this district is proper under 28 U.S.C. § 1391(b)(2).




                                                1
      Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 2 of 54 PageID #:2




                                            PARTIES

       4.      YURY GRENADYOR (“Plaintiff”) is a natural person, over 18-years-of-age, who

at all times relevant resided at 9009 Golf Road, Unit 5H, Des Plaines, Illinois 60016.

       5.      Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

       6.      Plaintiff is a "person" as defined by 12 U.S.C. § 2602(5).

       7.      Plaintiff is a "person" as defined by 815 ILCS 505/1(c).

       8.      Plaintiff is a "consumer" as defined by 815 ILCS 505/1(e).

       9.      SN SERVICING CORPORATION (“Defendant”) is a corporation organized and

existing under the laws of the state of Alaska.

       10.     Defendant has its principal place of business at 13702 Coursey Boulevard, Building

1A, Baton Rouge, Louisiana 70817.

       11.     Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

       12.     Defendant uses instrumentalities of interstate commerce and the mail in its business

– the principal purpose of which is the collection of debt owed or due or asserted to be owed or

due another.

       13.     Defendant is a "person" as defined by 12 U.S.C. § 2602(5).

       14.     Defendant is a "servicer" as defined by 12 C.F.R. § 1024.2(b).

       15.     Defendant is engaged in "commerce" as defined by 815 ILCS 505/1(f).

                                  FACTUAL ALLEGATIONS

       16.     On February 22, 2008, Plaintiff executed a mortgage in favor of Open Mortgage,

LLC (the “Mortgage”).

       17.     The Mortgage secured the purchase of Plaintiff’s personal residence located at 9009

Golf Road, Unit 5H, Des Plaines, Illinois 60016 (the “Property”).

                                                  2
      Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 3 of 54 PageID #:3




       18.     The Mortgage secured the repayment of the indebtedness evidenced by a

promissory note (the "Note") in the amount of $154,000.00 (the “Loan”).

       19.     The Mortgage is a "federally related mortgage loan" as defined by 12 U.S.C. §

2602(1) and 12 C.F.R. § 1024.2(b).

       20.     The Note provides that "I will pay principal and interest by making a payment every

month."

       21.     The Note further provides that "[i]f the Note Holder has not received the full

amount of any monthly payment by the end of 10 calendar days after the date it is due, I will pay

a late charge to the Note Holder. The amount of the charge will be 5.000% of my overdue payment

of principal and interest."

       22.     On September 1, 2017, Plaintiff defaulted on the Note by failing to make monthly

payments.

       23.     On November 21, 2018, the Loan was assigned, sold, or transferred to U.S. Bank

Trust National Association, as Trustee of the Chalet Series III Trust.

       24.     The servicing of the Loan, was assigned, sold, or transferred from Seterus, Inc. to

Defendant, effective January 7, 2019.




                                                 3
      Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 4 of 54 PageID #:4




       25.     Defendant mailed Plaintiff a Subsequent Interest Rate Adjustment Notice, dated

January 17, 2019, providing, in part:


                Changes to Your Mortgage Interest Rate and Payments on March 1, 2019


                Under the terms of your Adjustable-Rate Mortgage (ARM), you had a one-year period
                during which your interest rate stayed the same. That period ends on March 1, 2019,
                so on that date your interest rate and mortgage payment change. After that, your
                interest rate may change annually for the rest of your loan term.


                                             Current Rate and Monthly           New Rate
                                                     Payment               and Monthly Payment

                Interest Rate                           4.375%                    5.250%
                                                                                  $933.57
                Total Monthly Payment                   $876.12
                                                                             (due April 1, 2019

       26.     The Subsequent Interest Rate Adjustment Notice dated January 17, 2019, informed

Plaintiff his new monthly payment was $933.57—effective April 1, 2019.




                                                    4
      Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 5 of 54 PageID #:5




           27.   Defendant mailed Plaintiff an Account Statement, dated March 6, 2019, providing,

in part:

                  Delinquency Notice
                  You are late on your mortgage payments. Failure to
                  bring your loan current may result in fees and foreclosure—
                  the loss of your home. As of March 6, 2019, you are 550
                  days delinquent on your mortgage loan. This is your
                  Recent Account History:
                       •   Payment due 10/01/2018
                       •   Payment due 11/01/2018
                       •   Payment due 12/01/2018
                       •   Payment due 01/01/2019
                       •   Payment due 02/01/2019
                       •   Payment due 03/01/2019
                       •   Current payment due 04/01/2019: $1,020.96

                                                            ***

                  Explanation of Amount Due
                   Due Date       Principal        Interest       Escrow        Other Funds     Total
                   9/1/2017          $333.55         $425.25         $92.35           $0.00     $851.15
                  10/1/2017 –
                                   $6,031.41       $7,926.63      $2,885.76           $0.00   $16,843.80
                   3/1/2019
                   4/1/2019          $310.92         $530.30        $179.74           $0.00    $1,020.96
                  Total Payments Due                                                          $18,715.91
                  Total Fees and Charges                                                       $3,155.32
                  Total Amount Due                                                            $21,971.23

           28.   The Account Statement, dated March 6, 2019, incorrectly indicated Plaintiff's

monthly payment to be $1,020.96.

           29.   Defendant mailed Plaintiff an Account Statement, dated April 3, 2019, providing,

in part:

                  Delinquency Notice
                  You are late on your mortgage payments. Failure to
                  bring your loan current may result in fees and foreclosure—
                  the loss of your home. As of April 3, 2019, you are 578
                  days delinquent on your mortgage loan. This is your
                  Recent Account History:
                       •   Payment due 11/01/2018
                       •   Payment due 12/01/2018
                       •   Payment due 01/01/2019
                       •   Payment due 02/01/2019
                       •   Payment due 03/01/2019
                       •   Payment due 04/01/2019
                       •   Current payment due 05/01/2019: $1,020.96

                                                            ***
                                                        5
      Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 6 of 54 PageID #:6




                  Explanation of Amount Due
                   Due Date       Principal        Interest       Escrow        Other Funds     Total
                   9/1/2017          $333.55         $425.25         $92.35           $0.00     $851.15
                  10/1/2017 –
                                   $6,342.33       $8,456.93      $3,065.50           $0.00   $17,864.76
                   4/1/2019
                   5/1/2019          $312.28         $528.94        $179.74           $0.00    $1,020.96
                  Total Payments Due                                                          $19,736.87
                  Total Fees and Charges                                                       $1,836.11
                  Total Amount Due                                                            $21,572.98


           30.   The Account Statement, dated April 3, 2019, incorrectly indicated Plaintiff's

monthly payment to be $1,020.96.

           31.   Defendant mailed Plaintiff an Account Statement, dated May 8, 2019, providing,

in part:

                  Delinquency Notice
                  You are late on your mortgage payments. Failure to
                  bring your loan current may result in fees and foreclosure—
                  the loss of your home. As of May 8, 2019, you are 613 days
                  delinquent on your mortgage loan. This is your Recent
                  Account History:
                       •    Payment due 12/01/2018
                       •    Payment due 01/01/2019
                       •    Payment due 02/01/2019
                       •    Payment due 03/01/2019
                       •    Payment due 04/01/2019
                       •    Payment due 05/01/2019
                       •    Current payment due 06/01/2019: $1,020.96

                                                            ***

                  Explanation of Amount Due
                   Due Date       Principal        Interest       Escrow        Other Funds     Total
                   9/1/2017          $333.55         $425.25         $92.35           $0.00     $851.15
                  10/1/2017 –
                                   $6,654.61       $8,985.87      $3,245.24           $0.00   $18,885.72
                   5/1/2019
                   6/1/2019          $313.62         $527.57        $179.74           $0.00    $1,020.96
                  Total Payments Due                                                          $20,757.83
                  Total Fees and Charges                                                       $1,878.17
                  Total Amount Due                                                            $22,636.00


           32.   The Account Statement, dated May 8, 2019, incorrectly indicated Plaintiff's

monthly payment to be $1,020.96.




                                                        6
        Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 7 of 54 PageID #:7




           33.   Defendant mailed Plaintiff an Account Statement, dated June 5, 2019, providing,

in part:

                  Delinquency Notice
                  You are late on your mortgage payments. Failure to
                  bring your loan current may result in fees and foreclosure—
                  the loss of your home. As of June 5, 2019, you are 641
                  days delinquent on your mortgage loan and your most
                  delinquent payment was due on 9/1/2017. This is your
                  Recent Account History:
                       •   Payment due 01/01/2019
                       •   Payment due 02/01/2019
                       •   Payment due 03/01/2019
                       •   Payment due 04/01/2019
                       •   Payment due 05/01/2019
                       •   Payment due 06/01/2019
                       •   Current payment due 07/01/2019: $1,020.96

                                                            ***

                  Explanation of Amount Due
                   Due Date       Principal        Interest       Escrow        Other Funds     Total
                   9/1/2017          $333.55         $425.25         $92.35           $0.00     $851.15
                  10/1/2017 –
                                   $6,968.26       $9,513.44      $3,424.98           $0.00   $19,906.68
                   6/1/2019
                   7/1/2019          $315.02         $526.20        $179.74           $0.00    $1,020.96
                  Total Payments Due                                                          $21,778.79
                  Total Fees and Charges                                                       $1,920.23
                  Total Amount Due                                                            $23,699.02

           34.   The Account Statement, dated June 5, 2019, incorrectly indicated Plaintiff's

monthly payment to be $1,020.96.

           35.   Defendant mailed Plaintiff an Account Statement, dated July 3, 2019, providing, in

part:

                  Delinquency Notice
                  You are late on your mortgage payments. Failure to
                  bring your loan current may result in fees and foreclosure—
                  the loss of your home. As of July 3, 2019, you are 669 days
                  delinquent on your mortgage loan and your most
                  delinquent payment was due on 9/1/2017. This is your
                  Recent Account History:
                       •    Payment due 02/01/2019
                       •    Payment due 03/01/2019
                       •    Payment due 04/01/2019
                       •    Payment due 05/01/2019
                       •    Payment due 06/01/2019
                       •    Payment due 07/01/2019
                       •    Current payment due 08/01/2019: $1,020.96
                                                        7
      Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 8 of 54 PageID #:8




                                                            ***

                  Explanation of Amount Due
                   Due Date       Principal        Interest       Escrow        Other Funds     Total
                   9/1/2017          $333.55         $425.25         $92.35           $0.00     $851.15
                  10/1/2017 –
                                   $7,283.28      $10,039.64      $3,604.72           $0.00   $20,972.64
                   7/1/2019
                   8/1/2019          $316.40         $524.82        $179.74           $0.00    $1,020.96
                  Total Payments Due                                                          $22,799.75
                  Total Fees and Charges                                                       $1,962.29
                  Total Amount Due                                                            $24,762.04


           36.   The Account Statement, dated July 3, 2019, incorrectly indicated Plaintiff's

monthly payment to be $1,020.96.

           37.   Defendant mailed Plaintiff an Account Statement, dated August 7, 2019, providing,

in part:

                  Delinquency Notice
                  You are late on your mortgage payments. Failure to
                  bring your loan current may result in fees and foreclosure—
                  the loss of your home. As of August 7, 2019, you are 704
                  days delinquent on your mortgage loan and your most
                  delinquent payment was due on 9/1/2017. This is your
                  Recent Account History:
                       •   Payment due 03/01/2019
                       •   Payment due 04/01/2019
                       •   Payment due 05/01/2019
                       •   Payment due 06/01/2019
                       •   Payment due 07/01/2019
                       •   Payment due 08/01/2019
                       •   Current payment due 09/01/2019: $1,020.96

                                                            ***

                  Explanation of Amount Due
                   Due Date       Principal        Interest       Escrow        Other Funds     Total
                   9/1/2017          $333.55         $425.25         $92.35           $0.00     $851.15
                  10/1/2017 –
                                   $7,599.68      $10,564.46      $3,784.46           $0.00   $21,948.60
                   8/1/2019
                   9/1/2019          $317.78         $523.44        $179.74           $0.00    $1,020.96
                  Total Payments Due                                                          $23,820.71
                  Total Fees and Charges                                                       $2,004.35
                  Total Amount Due                                                            $25,825.06


           38.   The Account Statement, dated August 7, 2019, incorrectly indicated Plaintiff's

monthly payment to be $1,020.96.

                                                        8
      Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 9 of 54 PageID #:9




       39.     Defendant mailed Plaintiff an Account Statement, dated September 4, 2019,

providing, in part:

                Delinquency Notice
                You are late on your mortgage payments. Failure to
                bring your loan current may result in fees and foreclosure—
                the loss of your home. As of September 4, 2019, you are
                732 days delinquent on your mortgage loan and your most
                delinquent payment was due on 9/1/2017. This is your
                Recent Account History:
                     •   Payment due 04/01/2019
                     •   Payment due 05/01/2019
                     •   Payment due 06/01/2019
                     •   Payment due 07/01/2019
                     •   Payment due 08/01/2019
                     •   Payment due 09/01/2019
                     •   Current payment due 10/01/2019: $1,020.96

                                                          ***

                Explanation of Amount Due
                 Due Date       Principal        Interest       Escrow        Other Funds     Total
                  9/1/2017         $333.55         $425.25         $92.35           $0.00     $851.15
                10/1/2017 –
                                 $7,917.46      $11,087.90      $3,964.20           $0.00   $22,969.56
                  9/1/2019
                 10/1/2019         $319.17         $522.05        $179.74           $0.00    $1,020.96
                Total Payments Due                                                          $24,841.67
                Total Fees and Charges                                                       $2,046.41
                Total Amount Due                                                            $26,888.08

       40.     The Account Statement, dated September 4, 2019, incorrectly indicated Plaintiff's

monthly payment to be $1,020.96.

       41.     Defendant mailed Plaintiff an Account Statement, dated October 2, 2019,

providing, in part:

                Delinquency Notice
                You are late on your mortgage payments. Failure to
                bring your loan current may result in fees and foreclosure—
                the loss of your home. As of October 2, 2019, you are 760
                days delinquent on your mortgage loan and your most
                delinquent payment was due on 9/1/2017. This is your
                Recent Account History:
                     •    Payment due 05/01/2019
                     •    Payment due 06/01/2019
                     •    Payment due 07/01/2019
                     •    Payment due 08/01/2019
                     •    Payment due 09/01/2019
                     •    Payment due 10/01/2019
                     •    Current payment due 11/01/2019: $1,020.96
                                                      9
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 10 of 54 PageID #:10




                                                           ***

                Explanation of Amount Due
                 Due Date       Principal        Interest        Escrow       Other Funds     Total
                  9/1/2017         $333.55         $425.25          $92.35          $0.00     $851.15
                10/1/2017 –
                                 $8,236.63      $11,609.95       $4,143.94          $0.00   $23,990.52
                 10/1/2019
                 11/1/2019         $320.57         $520.65        $179.74           $0.00    $1,020.96
                Total Payments Due                                                          $25,862.63
                Total Fees and Charges                                                       $2,046.41
                Total Amount Due                                                            $27,909.04


       42.     The Account Statement, dated October 2, 2019, incorrectly indicated Plaintiff's

monthly payment to be $1,020.96.

       43.     Defendant mailed Plaintiff an Account Statement, dated November 6, 2019,

providing, in part:

                Delinquency Notice
                You are late on your mortgage payments. Failure to
                bring your loan current may result in fees and foreclosure—
                the loss of your home. As of November 6, 2019, you are
                795 days delinquent on your mortgage loan and your most
                delinquent payment was due on 9/1/2017. This is your
                Recent Account History:
                     •   Payment due 06/01/2019
                     •   Payment due 07/01/2019
                     •   Payment due 08/01/2019
                     •   Payment due 09/01/2019
                     •   Payment due 10/01/2019
                     •   Payment due 11/01/2019
                     •   Current payment due 12/01/2019: $1,020.96

                                                           ***

                Explanation of Amount Due
                 Due Date       Principal        Interest        Escrow       Other Funds     Total
                  9/1/2017         $333.55         $425.25          $92.35          $0.00     $851.15
                10/1/2017 –
                                 $8,557.20      $12,130.60       $4,232.68          $0.00   $25,011.48
                 11/1/2019
                 12/1/2019         $321.97         $519.25        $179.74           $0.00    $1,020.96
                Total Payments Due                                                          $26,883.59
                Total Fees and Charges                                                       $2,130.53
                Total Amount Due                                                            $29,014.12


       44.     The Account Statement, dated November 6, 2019, incorrectly indicated Plaintiff's

monthly payment to be $1,020.96.

                                                      10
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 11 of 54 PageID #:11




       45.     Defendant mailed Plaintiff a Notice of Attempt to Collect Debt, dated November

21, 2019, providing, in part:


               This letter serves as further notice that SN Servicing intends to enforce the
               provisions of the Note and Security Instrument. If you do not pay the full amount
               of $29,056.18 on or before December 21, 2019 (of if said date falls on a Saturday,
               Sunday, or legal Holiday, then on the first business day thereafter), this letter shall
               serve as further notice to you that immediately thereafter, and without further
               demand or notice to you, SN Servicing will accelerate the entire sum of both
               principal and interest.


       46.     Defendant mailed Plaintiff an Account Statement, dated December 4, 2019,

providing, in part:

                Delinquency Notice
                You are late on your mortgage payments. Your account
                has been referred to an attorney to initiate a
                foreclosure action. Failure to bring your loan current may
                result in fees and foreclosure—the loss of your home. As
                of December 4, 2019, you are 823 days delinquent on your
                mortgage loan and your most delinquent payment was due
                on 9/1/2017. This is your Recent Account History:
                    •     Payment due 07/01/2019
                    •     Payment due 08/01/2019
                    •     Payment due 09/01/2019
                    •     Payment due 10/01/2019
                    •     Payment due 11/01/2019
                    •     Payment due 12/01/2019
                    •     Current payment due 01/01/2020: $1,020.96

                                                          ***

                Explanation of Amount Due
                 Due Date       Principal       Interest        Escrow       Other Funds     Total
                  9/1/2017         $333.55        $425.25          $92.35          $0.00     $851.15
                10/1/2017 –
                                 $8,879.17     $12,649.85       $4,503.42          $0.00   $26,032.44
                 12/1/2019
                  1/1/2020         $323.38        $517.84        $179.74           $0.00    $1,020.96
                Total Payments Due                                                         $27,904.55
                Total Fees and Charges                                                      $2,172.59
                Total Amount Due                                                           $30,077.14

       47.     The Account Statement, dated December 4, 2019, incorrectly indicated Plaintiff's

monthly payment to be $1,020.96.

       48.     Plaintiff did not pay the full amount of $29,056.18 on or before December 21, 2019.

                                                     11
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 12 of 54 PageID #:12




       49.       Accordingly, on December 21, 2019, Defendant accelerated all the payments owing

under the Loan.

       50.       Once Plaintiff's Loan was accelerated, the Plaintiff's entire Loan balance was due—

in other words, no further monthly payments became due.

       51.       Defendant was therefore not required to incur administrative expenses in handling

late payments.

       52.       Defendant mailed Plaintiff an Account Statement, dated January 8, 2020,

providing, in part:

                  Account Information—Statement Date: 1/8/2020
                  Account Number                         [REDACTED]
                  Payment Due Date                           2/1/2020
                  Total Amount Due                            $31,140.16
                       $42.06 late fee may be charged on or after 2/12/2020
                  Outstanding Principal                          $127,576.29
                                   This is not the amount to pay off your loan
                  Interest Rate (Until 3/1/2020)                           4%
                  Prepayment Penalty                                        No
                  Escrow Balance                                   -$1,743.44

                                                             ***

                  Delinquency Notice
                  You are late on your mortgage payments. Your account
                  has been referred to an attorney to initiate a
                  foreclosure action. Failure to bring your loan current may
                  result in fees and foreclosure—the loss of your home. As
                  of January 8, 2020, you are 858 days delinquent on your
                  mortgage loan and your most delinquent payment was due
                  on 9/1/2017. This is your Recent Account History:
                       •    Payment due 08/01/2019
                       •    Payment due 09/01/2019
                       •    Payment due 10/01/2019
                       •    Payment due 11/01/2019
                       •    Payment due 12/01/2019
                       •    Payment due 01/01/2020
                       •    Current payment due 02/01/2020: $1,020.96

                                                             ***

                  Explanation of Amount Due
                   Due Date       Principal        Interest        Escrow        Other Funds     Total
                   9/1/2017          $333.55         $425.25          $92.35           $0.00     $851.15
                  10/1/2017 –     $9,202.55       $13,167.69       $4,683.16           $0.00   $27,053.40

                                                        12
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 13 of 54 PageID #:13



                 1/1/2020
                 2/1/2020         $324.79        $516.43         $179.74       $0.00     $1,020.96
                Total Payments Due                                                      $28,925.51
                Total Fees and Charges                                                   $2,214.65
                Total Amount Due                                                        $31,140.16

                                                         ***

                Transaction Activity (12/5/2019 to 1/8/2020)
                   Date      Description                                    Charges        Escrow
                12/12/2019 Late Charge Assessment                            $42.06


       53.     The Account Statement, dated January 8, 2020, incorrectly indicated Plaintiff's

monthly payment to be $1,020.96.

       54.     A $42.06 late fee was assessed to Plaintiff's Loan on January 14, 2020.

       55.     Defendant mailed Plaintiff a Subsequent Interest Rate Adjustment Notice, dated

January 21, 2020, providing, in part:


                Changes to Your Mortgage Interest Rate and Payments on March 1, 2020


                Under the terms of your Adjustable-Rate Mortgage (ARM), you had a one-year period
                during which your interest rate stayed the same. That period ends on March 1, 2020,
                so on that date your interest rate and mortgage payment change. After that, your
                interest rate may change annually for the rest of your loan term.


                                             Current Rate and Monthly           New Rate
                                                     Payment               and Monthly Payment

                Interest Rate                         5.250%                      4.250%
                                                                                  $958.25
                Total Monthly Payment                $1,020.96
                                                                             (due April 1, 2020


       56.     The Subsequent Interest Rate Adjustment Notice dated January 21, 2020, informed

Plaintiff his new monthly payment was $958.25—effective April 1, 2020.




                                                    13
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 14 of 54 PageID #:14




       57.     Defendant mailed Plaintiff an Account Statement, dated February 5, 2020,

providing, in part:

                Account Information—Statement Date: 2/5/2020
                Account Number                         [REDACTED]
                Payment Due Date                           3/1/2020
                Total Amount Due                            $32,203.18
                     $42.06 late fee may be charged on or after 3/12/2020
                Outstanding Principal                          $127,576.29
                                 This is not the amount to pay off your loan
                Interest Rate (Until 3/1/2021)                           4%
                Prepayment Penalty                                        No
                Escrow Balance                                   -$1,743.44

                                                           ***

                Delinquency Notice
                You are late on your mortgage payments. Your account
                has been referred to an attorney to initiate a
                foreclosure action. Failure to bring your loan current may
                result in fees and foreclosure—the loss of your home. As
                of February 5, 2020, you are 886 days delinquent on your
                mortgage loan and your most delinquent payment was due
                on 9/1/2017. This is your Recent Account History:
                    •     Payment due 09/01/2019
                    •     Payment due 10/01/2019
                    •     Payment due 11/01/2019
                    •     Payment due 12/01/2019
                    •     Payment due 01/01/2020
                    •     Payment due 02/01/2020
                    •     Current payment due 03/01/2020: $1,020.96

                                                           ***

                Explanation of Amount Due
                 Due Date       Principal         Interest       Escrow        Other Funds     Total
                 9/1/2017          $333.55          $425.25         $92.35           $0.00     $851.15
                10/1/2017 –
                                 $9,527.34      $13,684.12       $4,862.90           $0.00   $28,074.36
                 2/1/2020
                 3/1/2020          $326.22         $515.00         $179.74           $0.00    $1,020.96
                Total Payments Due                                                           $29,946.47
                Total Fees and Charges                                                        $2,256.71
                Total Amount Due                                                             $32,203.18

                                                           ***

                Transaction Activity (1/9/2020 to 2/5/2020)
                    Date     Description                                          Charges      Escrow
                 1/14/2020   Late Charge Assessment                                $42.06




                                                      14
     Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 15 of 54 PageID #:15




           58.   The Account Statement, dated February 5, 2020, incorrectly indicated Plaintiff's

monthly payment to be $1,020.96.

           59.   A $42.06 late fee was assessed to Plaintiff's Loan on February 12, 2020.

           60.   Defendant mailed Plaintiff an Account Statement, dated March 4, 2020, providing,

in part:

                  Account Information—Statement Date: 3/4/2020
                  Account Number                         [REDACTED]
                  Payment Due Date                           4/1/2020
                  Total Amount Due                            $33,953.49
                       $38.93 late fee may be charged on or after 4/12/2020
                  Outstanding Principal                          $127,576.29
                                   This is not the amount to pay off your loan
                  Interest Rate (Until 3/1/2021)                           4%
                  Prepayment Penalty                                        No
                  Escrow Balance                                   -$1,743.44

                                                             ***

                  Delinquency Notice
                  You are late on your mortgage payments. Your account
                  has been referred to an attorney to initiate a
                  foreclosure action. Failure to bring your loan current may
                  result in fees and foreclosure—the loss of your home. As
                  of March 4, 2020, you are 914 days delinquent on your
                  mortgage loan and your most delinquent payment was due
                  on 9/1/2017. This is your Recent Account History:
                      •     Payment due 10/01/2019
                      •     Payment due 11/01/2019
                      •     Payment due 12/01/2019
                      •     Payment due 01/01/2019
                      •     Payment due 02/01/2019
                      •     Payment due 03/01/2020
                      •     Current payment due 04/01/2020: $958.25

                                                             ***

                  Explanation of Amount Due
                   Due Date       Principal         Interest       Escrow        Other Funds     Total
                   9/1/2017          $333.55          $425.25         $92.35           $0.00     $851.15
                  10/1/2017 –
                                   $9,853.56      $14,199.12       $5,042.64           $0.00   $29,095.32
                   3/1/2020
                   4/1/2020          $362.76         $415.75         $179.74           $0.00     $958.25
                  Total Payments Due                                                           $30,904.72
                  Total Fees and Charges                                                        $3,048.77
                  Total Amount Due                                                             $33,953.49

                                                             ***

                                                        15
     Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 16 of 54 PageID #:16




                  Transaction Activity (1/9/2020 to 2/5/2020)
                      Date     Description                                          Charges    Escrow
                   2/12/2020   Late Charge Assessment                                $42.06
                   2/13/2020   County Tax Disbursement                                         -$959.29
                   2/25/2020   Foreclosure Expense Assessment                       $525.00
                    3/4/2020   Foreclosure Expense Assessment                       $225.00


           61.   The Account Statement, dated March 4, 2020, stated that "$38.93 late fee may be

charged on or after 4/12/2020."

           62.   A $42.06 late fee was assessed to Plaintiff's Loan on March 12, 2020.

           63.   Defendant mailed Plaintiff an Account Statement, dated April 8, 2020, providing,

in part:

                  Account Information—Statement Date: 4/8/2020
                  Account Number                         [REDACTED]
                  Payment Due Date                           5/1/2020
                  Total Amount Due                            $34,953.80
                       $38.93 late fee may be charged on or after 5/12/2020
                  Outstanding Principal                          $127,576.29
                                   This is not the amount to pay off your loan
                  Interest Rate (Until 3/1/2021)                           4%
                  Prepayment Penalty                                        No
                  Escrow Balance                                   -$2,702.73

                                                             ***

                  Delinquency Notice
                  You are late on your mortgage payments. Your account
                  has been referred to an attorney to initiate a
                  foreclosure action. Failure to bring your loan current may
                  result in fees and foreclosure—the loss of your home. As
                  of April 8, 2020, you are 949 days delinquent on your
                  mortgage loan and your most delinquent payment was due
                  on 9/1/2017. This is your Recent Account History:
                      •     Payment due 11/01/2019
                      •     Payment due 12/01/2019
                      •     Payment due 01/01/2020
                      •     Payment due 02/01/2020
                      •     Payment due 03/01/2020
                      •     Payment due 04/01/2020
                      •     Current payment due 05/01/2020: $958.25

                                                             ***

                  Explanation of Amount Due
                   Due Date       Principal         Interest       Escrow        Other Funds   Total
                   9/1/2017          $333.55          $425.25         $92.35           $0.00   $851.15

                                                        16
     Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 17 of 54 PageID #:17



                  10/1/2017 –
                                  $10,216.32      $14,614.87       $5,222.38       $0.00   $30,053.57
                   4/1/2020
                   5/1/2020         $364.04          $414.47         $179.74       $0.00     $958.25
                  Total Payments Due                                                       $31,862.97
                  Total Fees and Charges                                                    $3,090.83
                  Total Amount Due                                                         $34,953.80

                                                             ***

                  Transaction Activity (3/5/2020 to 4/8/2020)
                      Date     Description                                       Charges     Escrow
                   3/12/2020   Late Charge Assessment                             $42.06


           64.   The Account Statement, dated April 8, 2020, stated that "$38.93 late fee may be

charged on or after 5/12/2020."

           65.   Defendant mailed Plaintiff an Account Statement, dated May 6, 2020, providing,

in part:

                  Account Information—Statement Date: 5/6/2020
                  Account Number                         [REDACTED]
                  Payment Due Date                           6/1/2020
                  Total Amount Due                            $35,912.05
                       $38.93 late fee may be charged on or after 6/12/2020
                  Outstanding Principal                          $127,576.29
                                   This is not the amount to pay off your loan
                  Interest Rate (Until 3/1/2021)                           4%
                  Prepayment Penalty                                        No
                  Escrow Balance                                   -$2,702.73

                                                             ***

                  Delinquency Notice
                  You are late on your mortgage payments. Your account
                  has been referred to an attorney to initiate a
                  foreclosure action. Failure to bring your loan current may
                  result in fees and foreclosure—the loss of your home. As
                  of May 6, 2020, you are 977 days delinquent on your
                  mortgage loan and your most delinquent payment was due
                  on 9/1/2017. This is your Recent Account History:
                      •     Payment due 12/01/2019
                      •     Payment due 01/01/2020
                      •     Payment due 02/01/2020
                      •     Payment due 03/01/2020
                      •     Payment due 04/01/2020
                      •     Payment due 05/01/2020
                      •     Current payment due 06/01/2020: $958.25

                                                             ***


                                                        17
     Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 18 of 54 PageID #:18



                  Explanation of Amount Due
                   Due Date       Principal         Interest       Escrow        Other Funds     Total
                   9/1/2017          $333.55          $425.25         $92.35           $0.00     $851.15
                  10/1/2017 –
                                  $10,580.36      $15,029.34       $5,402.12           $0.00   $31,011.82
                   5/1/2020
                   6/1/2020          $365.33         $413.18         $179.74           $0.00     $958.25
                  Total Payments Due                                                           $32,821.22
                  Total Fees and Charges                                                        $3,090.83
                  Total Amount Due                                                             $35,912.05

                                                             ***

                  Transaction Activity (4/9/2020 to 5/6/2020)
                      Date     Description                                          Charges      Escrow
                   4/14/2020   Late Charge Assessment                                 $38.93
                   4/14/2020   Late Charge Waiver                                    -$38.93


           66.   The Account Statement, dated May 6, 2020, stated that "$38.93 late fee may be

charged on or after 6/12/2020."

           67.   Defendant mailed Plaintiff an Account Statement, dated June 3, 2020, providing,

in part:

                  Account Information—Statement Date: 6/3/2020
                  Account Number                         [REDACTED]
                  Payment Due Date                           7/1/2020
                  Total Amount Due                            $36,870.30
                       $38.93 late fee may be charged on or after 7/12/2020
                  Outstanding Principal                          $127,576.29
                                   This is not the amount to pay off your loan
                  Interest Rate (Until 3/1/2021)                           4%
                  Prepayment Penalty                                        No
                  Escrow Balance                                   -$2,702.73

                                                             ***

                  Delinquency Notice
                  You are late on your mortgage payments. Your account
                  has been referred to an attorney to initiate a
                  foreclosure action. Failure to bring your loan current may
                  result in fees and foreclosure—the loss of your home. As
                  of June 3, 2020, you are 1005 days delinquent on your
                  mortgage loan and your most delinquent payment was due
                  on 9/1/2017. This is your Recent Account History:
                      •     Payment due 01/01/2020
                      •     Payment due 02/01/2020
                      •     Payment due 03/01/2020
                      •     Payment due 04/01/2020
                      •     Payment due 05/01/2020
                      •     Payment due 06/01/2020
                      •     Current payment due 07/01/2020: $958.25
                                                        18
        Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 19 of 54 PageID #:19




                                                            ***

                 Explanation of Amount Due
                  Due Date       Principal         Interest       Escrow        Other Funds     Total
                  9/1/2017          $333.55          $425.25         $92.35           $0.00     $851.15
                 10/1/2017 –
                                 $10,945.69      $15,442.52       $5,581.86           $0.00   $31,970.07
                  6/1/2020
                  7/1/2020          $366.62         $411.89         $179.74           $0.00     $958.25
                 Total Payments Due                                                           $33,779.47
                 Total Fees and Charges                                                        $3,090.83
                 Total Amount Due                                                             $36,870.30

                                                            ***

                 Transaction Activity (5/7/2020 to 6/3/2020)
                     Date     Description                                          Charges      Escrow
                  5/12/2020   Late Charge Assessment                                 $38.93
                  5/12/2020   Late Charge Waiver                                    -$38.93


          68.   The Account Statement, dated June 3, 2020, stated that "$38.93 late fee may be

charged on or after 7/12/2020."

          69.   Defendant mailed Plaintiff an Account Statement, dated July 8, 2020, providing, in

part:

                 Account Information—Statement Date: 7/8/2020
                 Account Number                         [REDACTED]
                 Payment Due Date                           8/1/2020
                 Total Amount Due                            $37,828.55
                      $38.93 late fee may be charged on or after 8/12/2020
                 Outstanding Principal                          $127,576.29
                                  This is not the amount to pay off your loan
                 Interest Rate (Until 3/1/2021)                           4%
                 Prepayment Penalty                                        No
                 Escrow Balance                                   -$2,702.73

                                                            ***

                 Delinquency Notice
                 You are late on your mortgage payments. Your account
                 has been referred to an attorney to initiate a
                 foreclosure action. Failure to bring your loan current may
                 result in fees and foreclosure—the loss of your home. As
                 of July 8, 2020, you are 1040 days delinquent on your
                 mortgage loan and your most delinquent payment was due
                 on 9/1/2017. This is your Recent Account History:
                     •     Payment due 02/01/2020
                     •     Payment due 03/01/2020
                     •     Payment due 04/01/2020
                     •     Payment due 05/01/2020
                                                       19
     Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 20 of 54 PageID #:20



                      •    Payment due 06/01/2020
                      •    Payment due 07/01/2020
                      •    Current payment due 08/01/2020: $958.25

                                                             ***

                  Explanation of Amount Due
                   Due Date       Principal         Interest       Escrow        Other Funds     Total
                   9/1/2017          $333.55          $425.25         $92.35           $0.00     $851.15
                  10/1/2017 –
                                  $11,312.31      $15,854.41       $5,761.60           $0.00   $32,928.32
                   7/1/2020
                   8/1/2020          $367.92         $410.59         $179.74           $0.00     $958.25
                  Total Payments Due                                                           $34,737.72
                  Total Fees and Charges                                                        $3,090.83
                  Total Amount Due                                                             $37,828.55

                                                             ***

                  Transaction Activity (6/4/2020 to 7/8/2020)
                     Date      Description                                          Charges      Escrow
                               No transaction detail


           70.   The Account Statement, dated July 8, 2020, stated that "$38.93 late fee may be

charged on or after 8/12/2020."

           71.   Defendant mailed Plaintiff an Account Statement, dated August 5, 2020, providing,

in part:

                  Account Information—Statement Date: 8/5/2020
                  Account Number                         [REDACTED]
                  Payment Due Date                           9/1/2020
                  Total Amount Due                            $39,761.80
                       $38.93 late fee may be charged on or after 9/12/2020
                  Outstanding Principal                          $127,576.29
                                   This is not the amount to pay off your loan
                  Interest Rate (Until 3/1/2021)                           4%
                  Prepayment Penalty                                        No
                  Escrow Balance                                   -$4,768.27

                                                             ***

                  Delinquency Notice
                  You are late on your mortgage payments. Your account
                  has been referred to an attorney to initiate a
                  foreclosure action. Failure to bring your loan current may
                  result in fees and foreclosure—the loss of your home. As
                  of August 5, 2020, you are 1068 days delinquent on your
                  mortgage loan and your most delinquent payment was due
                  on 9/1/2017. This is your Recent Account History:
                      •     Payment due 03/01/2020

                                                        20
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 21 of 54 PageID #:21



                      •   Payment due 04/01/2020
                      •   Payment due 05/01/2020
                      •   Payment due 06/01/2020
                      •   Payment due 07/01/2020
                      •   Payment due 08/01/2020
                      •   Current payment due 09/01/2020: $958.25

                                                           ***

                Explanation of Amount Due
                 Due Date       Principal         Interest       Escrow        Other Funds     Total
                 9/1/2017          $333.55          $425.25         $92.35           $0.00     $851.15
                10/1/2017 –
                                $11,680.23      $16,265.00       $5,941.34           $0.00   $33,886.57
                 8/1/2020
                 9/1/2020          $369.23         $409.28         $179.74           $0.00     $958.25
                Total Payments Due                                                           $35,695.97
                Total Fees and Charges                                                        $4,065.83
                Total Amount Due                                                             $39,761.80

                                                           ***

                Transaction Activity (7/9/2020 to 8/5/2020)
                    Date     Description                                          Charges       Escrow
                 7/14/2020   County Tax Disbursement                                         -$2,065.54
                 7/27/2020   Foreclosure Expense Assessment                        $75.00
                  8/3/2020   Legal Fee Assessment                                 $900.00


       72.     The Account Statement, dated August 5, 2020, stated that "$38.93 late fee may be

charged on or after 9/12/2020."

       73.     Defendant mailed Plaintiff an Account Statement, dated September 2, 2020,

providing, in part:

                Account Information—Statement Date: 9/2/2020
                Account Number                         [REDACTED]
                Payment Due Date                          10/1/2020
                Total Amount Due                            $42,047.15
                    $38.93 late fee may be charged on or after 10/12/2020
                Outstanding Principal                          $127,576.29
                                 This is not the amount to pay off your loan
                Interest Rate (Until 3/1/2021)                           4%
                Prepayment Penalty                                        No
                Escrow Balance                                   -$4,768.27

                                                           ***

                Delinquency Notice
                You are late on your mortgage payments. Your account
                has been referred to an attorney to initiate a
                foreclosure action. Failure to bring your loan current may

                                                      21
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 22 of 54 PageID #:22



                result in fees and foreclosure—the loss of your home. As
                of September 2, 2020, you are 1096 days delinquent on
                your mortgage loan and your most delinquent payment was
                due on 9/1/2017. This is your Recent Account History:
                    •     Payment due 04/01/2020
                    •     Payment due 05/01/2020
                    •     Payment due 06/01/2020
                    •     Payment due 07/01/2020
                    •     Payment due 08/01/2020
                    •     Payment due 09/01/2020
                    •     Current payment due 10/01/2020: $958.25

                                                           ***

                Explanation of Amount Due
                 Due Date       Principal        Interest        Escrow        Other Funds     Total
                  9/1/2017         $333.55         $425.25          $92.35           $0.00     $851.15
                10/1/2017 –
                                $12,049.46      $16,674.28       $6,121.08           $0.00   $34,844.82
                  9/1/2020
                 10/1/2020         $370.53         $407.98         $179.74           $0.00     $958.25
                Total Payments Due                                                           $36,654.22
                Total Fees and Charges                                                        $5,392.93
                Total Amount Due                                                             $42,047.15

                                                           ***

                Transaction Activity (8/5/2020 to 9/2/2020)
                    Date     Description                                          Charges      Escrow
                 8/14/2020   Foreclosure Expense Assessment                        $502.10
                 8/14/2020   Legal Fee Assessment                                  $600.00
                 8/14//2020  Legal Fee Assessment                                  $225.00


       74.     The Account Statement, dated September 2, 2020, stated that "$38.93 late fee may

be charged on or after 10/12/2020."

       75.     Defendant mailed Plaintiff an Account Statement, dated October 7, 2020,

providing, in part:

                Account Information—Statement Date: 10/7/2020
                Account Number                        [REDACTED]
                Payment Due Date                          11/1/2020
                Total Amount Due                            $43,005.40
                    $38.93 late fee may be charged on or after 11/12/2020
                Outstanding Principal                          $127,576.29
                                 This is not the amount to pay off your loan
                Interest Rate (Until 3/1/2021)                           4%
                Prepayment Penalty                                        No
                Escrow Balance                                   -$4,768.27

                                                           ***

                                                      22
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 23 of 54 PageID #:23



                Delinquency Notice
                You are late on your mortgage payments. Your account
                has been referred to an attorney to initiate a
                foreclosure action. Failure to bring your loan current may
                result in fees and foreclosure—the loss of your home. As
                of October 7, 2020, you are 1131 days delinquent on your
                mortgage loan and your most delinquent payment was due
                on 9/1/2017. This is your Recent Account History:
                    •     Payment due 05/01/2020
                    •     Payment due 06/01/2020
                    •     Payment due 07/01/2020
                    •     Payment due 08/01/2020
                    •     Payment due 09/01/2020
                    •     Payment due 10/01/2020
                    •     Current payment due 11/01/2020: $958.25

                                                           ***

                Explanation of Amount Due
                 Due Date       Principal         Interest       Escrow        Other Funds     Total
                  9/1/2017         $333.55          $425.25         $92.35           $0.00     $851.15
                10/1/2017 –
                                $12,419.99      $17,082.26       $6,300.82           $0.00   $35,803.07
                 10/1/2020
                 11/1/2020         $371.85         $406.66         $179.74           $0.00     $958.25
                Total Payments Due                                                           $37,612.47
                Total Fees and Charges                                                        $5,392.93
                Total Amount Due                                                             $43,005.40

                                                           ***

                Transaction Activity (9/3/2020 to 10/7/2020)
                   Date      Description                                          Charges      Escrow
                             No transaction detail


       76.     The Account Statement, dated October 7, 2020, stated that "$38.93 late fee may be

charged on or after 11/12/2020."

       77.     Defendant mailed Plaintiff an Account Statement, dated November 4, 2020,

providing, in part:

                Account Information—Statement Date: 11/4/2020
                Account Number                        [REDACTED]
                Payment Due Date                          12/1/2020
                Total Amount Due                            $44,141.15
                    $38.93 late fee may be charged on or after 12/12/2020
                Outstanding Principal                          $127,576.29
                                 This is not the amount to pay off your loan
                Interest Rate (Until 3/1/2021)                           4%
                Prepayment Penalty                                        No
                Escrow Balance                                   -$4,768.27


                                                      23
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 24 of 54 PageID #:24



                                                          ***

                Delinquency Notice
                You are late on your mortgage payments. Your account
                has been referred to an attorney to initiate a
                foreclosure action. Failure to bring your loan current may
                result in fees and foreclosure—the loss of your home. As
                of November 4, 2020, you are 1159 days delinquent on
                your mortgage loan and your most delinquent payment was
                due on 9/1/2017. This is your Recent Account History:
                    •     Payment due 06/01/2020
                    •     Payment due 07/01/2020
                    •     Payment due 08/01/2020
                    •     Payment due 09/01/2020
                    •     Payment due 10/01/2020
                    •     Payment due 11/01/2020
                    •     Current payment due 12/01/2020: $958.25

                                                          ***

                Explanation of Amount Due
                 Due Date       Principal       Interest        Escrow       Other Funds     Total
                  9/1/2017         $333.55        $425.25          $92.35          $0.00     $851.15
                10/1/2017 –
                                $12,791.84     $17,488.92       $6,480.56          $0.00   $36,761.32
                 11/1/2020
                 12/1/2020         $371.85        $406.66        $179.74           $0.00     $958.25
                Total Payments Due                                                         $38,570.72
                Total Fees and Charges                                                      $5,570.43
                Total Amount Due                                                           $44,141.15

                                                          ***

                Transaction Activity (10/8/2020 to 11/4/2020)
                   Date      Description                                        Charges      Escrow
                10/13/2020 Late Charge Assessment                                 $38.93
                10/13/2020 Late Charge Waiver                                    -$38.93
                 11/3/2020   Foreclosure Expense Assessment                       $75.00
                 11/3/2020   Legal Fee Assessment                                $102.50


       78.     The Account Statement, dated November 4, 2020, stated that "$38.93 late fee may

be charged on or after 12/12/2020."

       79.     Defendant mailed Plaintiff an Account Statement, dated December 2, 2020,

providing, in part:

                Account Information—Statement Date: 12/2/2020
                Account Number                        [REDACTED]
                Payment Due Date                           1/1/2021
                Total Amount Due                          $45,099.40
                    $38.93 late fee may be charged on or after 1/12/2021
                Outstanding Principal                       $127,576.29
                                                     24
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 25 of 54 PageID #:25



                                 This is not the amount to pay off your loan
                Interest Rate (Until 3/1/2021)                           4%
                Prepayment Penalty                                        No
                Escrow Balance                                   -$4,768.27

                                                           ***

                Delinquency Notice
                You are late on your mortgage payments. Your account
                has been referred to an attorney to initiate a
                foreclosure action. Failure to bring your loan current may
                result in fees and foreclosure—the loss of your home. As
                of December 2, 2020, you are 1187 days delinquent on
                your mortgage loan and your most delinquent payment was
                due on 9/1/2017. This is your Recent Account History:
                    •     Payment due 07/01/2020
                    •     Payment due 08/01/2020
                    •     Payment due 09/01/2020
                    •     Payment due 10/01/2020
                    •     Payment due 11/01/2020
                    •     Payment due 12/01/2020
                    •     Current payment due 01/01/2021: $958.25

                                                           ***

                Explanation of Amount Due
                 Due Date       Principal         Interest       Escrow        Other Funds     Total
                  9/1/2017         $333.55          $425.25         $92.35           $0.00     $851.15
                10/1/2017 –
                                $13,165.00      $17,894.27       $6,660.30           $0.00   $37,719.57
                 12/1/2020
                  1/1/2021         $371.85         $406.66         $179.74           $0.00     $958.25
                Total Payments Due                                                           $39,528.97
                Total Fees and Charges                                                        $5,570.43
                Total Amount Due                                                             $45,099.40

                                                           ***

                Transaction Activity (11/5/2020 to 12/2/2020)
                   Date      Description                                          Charges      Escrow
                11/12/2020 Late Charge Assessment                                   $38.93
                11/12/2020 Late Charge Waiver                                      -$38.93


       80.     The Account Statement, dated December 2, 2020, stated that "$38.93 late fee may

be charged on or after 1/12/2021."

       81.     On December 12, 2020, a $38.93 late fee was assessed to Plaintiff's Loan.

       82.     Defendant mailed Plaintiff an Account Statement, dated January 6, 2021,

providing, in part:


                                                      25
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 26 of 54 PageID #:26



               Account Information—Statement Date: 1/6/2021
               Account Number                         [REDACTED]
               Payment Due Date                           2/1/2021
               Total Amount Due                            $46,296.58
                    $38.93 late fee may be charged on or after 2/12/2021
               Outstanding Principal                          $127,576.29
                                This is not the amount to pay off your loan
               Interest Rate (Until 3/1/2021)                           4%
               Prepayment Penalty                                        No
               Escrow Balance                                   -$4,768.27

                                                          ***

               Delinquency Notice
               You are late on your mortgage payments. Your account
               has been referred to an attorney to initiate a
               foreclosure action. Failure to bring your loan current may
               result in fees and foreclosure—the loss of your home. As
               of January 6, 2021, you are 1222 days delinquent on your
               mortgage loan and your most delinquent payment was due
               on 9/1/2017. This is your Recent Account History:
                    •    Payment due 08/01/2020
                    •    Payment due 09/01/2020
                    •    Payment due 10/01/2020
                    •    Payment due 11/01/2020
                    •    Payment due 12/01/2020
                    •    Payment due 01/01/2021
                    •    Current payment due 02/01/2021: $958.25

                                                          ***

               Explanation of Amount Due
                Due Date       Principal        Interest        Escrow        Other Funds     Total
                9/1/2017          $333.55         $425.25          $92.35           $0.00     $851.15
               10/1/2017 –
                               $13,539.48      $18,298.30       $6,840.04           $0.00   $38,677.82
                1/1/2020
                2/1/2021          $375.81         $402.70         $179.74           $0.00     $958.25
               Total Payments Due                                                           $40,487.22
               Total Fees and Charges                                                        $5,809.36
               Total Amount Due                                                             $46,296.58

                                                          ***

               Transaction Activity (12/3/2020 to 1/6/2021)
                  Date      Description                                          Charges      Escrow
               12/12/2020 Late Charge Assessment                                   $38.93
                1/4/2021    Legal Fee Assessment                                  $200.00


       83.    The Account Statement, dated January 6, 2021, stated that "$38.93 late fee may be

charged on or after 2/12/2021."

       84.    On January 12, 2021, a $38.93 late fee was assessed to Plaintiff's Loan.
                                                     26
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 27 of 54 PageID #:27




       85.     Defendant mailed Plaintiff an Account Statement, dated February 3, 2021,

providing, in part:

                Account Information—Statement Date: 2/3/2021
                Account Number                         [REDACTED]
                Payment Due Date                           3/1/2021
                Total Amount Due                            $47,293.76
                     $38.93 late fee may be charged on or after 3/12/2021
                Outstanding Principal                          $127,576.29
                                 This is not the amount to pay off your loan
                Interest Rate (Until 3/1/2021)                           4%
                Prepayment Penalty                                        No
                Escrow Balance                                   -$4,768.27

                                                           ***

                Delinquency Notice
                You are late on your mortgage payments. Your account
                has been referred to an attorney to initiate a
                foreclosure action. Failure to bring your loan current may
                result in fees and foreclosure—the loss of your home. As
                of February 3, 2021, you are 1250 days delinquent on your
                mortgage loan and your most delinquent payment was due
                on 9/1/2017. This is your Recent Account History:
                     •    Payment due 09/01/2020
                     •    Payment due 10/01/2020
                     •    Payment due 11/01/2020
                     •    Payment due 12/01/2020
                     •    Payment due 01/01/2021
                     •    Payment due 02/01/2021
                     •    Current payment due 03/01/2021: $958.25

                                                           ***

                Explanation of Amount Due
                 Due Date       Principal        Interest        Escrow        Other Funds     Total
                 9/1/2017          $333.55         $425.25          $92.35           $0.00     $851.15
                10/1/2017 –
                                $13,915.29      $18,701.00       $7,019.78           $0.00   $39,636.07
                 2/1/2020
                 3/1/2021          $377.14         $401.37         $179.74           $0.00     $958.25
                Total Payments Due                                                           $41,445.47
                Total Fees and Charges                                                        $5,848.29
                Total Amount Due                                                             $47,293.76

                                                           ***

                Transaction Activity (1/7/2021 to 2/3/2021)
                    Date     Description                                          Charges      Escrow
                 1/12/2021   Late Charge Assessment                                $38.93




                                                      27
     Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 28 of 54 PageID #:28




           86.   The Account Statement, dated February 3, 2021, stated that "$38.93 late fee may

be charged on or after 3/12/2021."

           87.   On February 12, 2021, a $38.93 late fee was assessed to Plaintiff's Loan.

           88.   Defendant mailed Plaintiff an Account Statement, dated March 3, 2021, providing,

in part:

                  Account Information—Statement Date: 3/3/2021
                  Account Number                         [REDACTED]
                  Payment Due Date                           4/1/2021
                  Total Amount Due                            $48,499.40
                       $34.35 late fee may be charged on or after 4/12/2021
                  Outstanding Principal                          $127,576.29
                                   This is not the amount to pay off your loan
                  Interest Rate (Until 3/1/2022)                           4%
                  Prepayment Penalty                                        No
                  Escrow Balance                                   -$6,431.23

                                                             ***

                  Delinquency Notice
                  You are late on your mortgage payments. Your account
                  has been referred to an attorney to initiate a
                  foreclosure action. Failure to bring your loan current may
                  result in fees and foreclosure—the loss of your home. As
                  of March 3, 2021, you are 1278 days delinquent on your
                  mortgage loan and your most delinquent payment was due
                  on 9/1/2017. This is your Recent Account History:
                      •     Payment due 10/01/2020
                      •     Payment due 11/01/2020
                      •     Payment due 12/01/2020
                      •     Payment due 01/01/2021
                      •     Payment due 02/01/2021
                      •     Payment due 03/01/2021
                      •     Current payment due 04/01/2021: $866.71

                                                             ***

                  Explanation of Amount Due
                   Due Date       Principal        Interest        Escrow        Other Funds     Total
                   9/1/2017          $333.55         $425.25          $92.35           $0.00     $851.15
                  10/1/2017 –
                                  $14,292.43      $19,102.37       $7,199.52           $0.00   $40,594.32
                   3/1/2020
                   4/1/2021          $439.89         $247.08         $179.74           $0.00     $866.71
                  Total Payments Due                                                           $42,312.18
                  Total Fees and Charges                                                        $6,187.22
                  Total Amount Due                                                             $48,499.40

                                                             ***

                                                        28
     Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 29 of 54 PageID #:29




                  Transaction Activity (2/4/2021 to 2/3/2021)
                      Date     Description                                          Charges      Escrow
                   2/12/2021   Late Charge Assessment                                $38.93
                   2/16/2021   County Tax Disbursement                                         -$1,662.96
                    3/1/2021   Legal Fee Assessment                                 $300.00


           89.   The Account Statement, dated March 3, 2021, stated that "$34.35 late fee may be

charged on or after 4/12/2021."

           90.   On March 12, 2021, a $38.93 late fee was assessed to Plaintiff's Loan.

           91.   Defendant mailed Plaintiff an Account Statement, dated April 7, 2021, providing,

in part:

                  Account Information—Statement Date: 4/7/2021
                  Account Number                         [REDACTED]
                  Payment Due Date                           5/1/2021
                  Total Amount Due                            $49,915.04
                       $34.35 late fee may be charged on or after 5/12/2021
                  Outstanding Principal                          $127,576.29
                                   This is not the amount to pay off your loan
                  Interest Rate (Until 3/1/2022)                           4%
                  Prepayment Penalty                                        No
                  Escrow Balance                                   -$6,431.23

                                                             ***

                  Delinquency Notice
                  You are late on your mortgage payments. Your account
                  has been referred to an attorney to initiate a
                  foreclosure action. Failure to bring your loan current may
                  result in fees and foreclosure—the loss of your home. As
                  of April 7, 2021, you are 1313 days delinquent on your
                  mortgage loan and your most delinquent payment was due
                  on 9/1/2017. This is your Recent Account History:
                      •     Payment due 11/01/2020
                      •     Payment due 12/01/2020
                      •     Payment due 01/01/2021
                      •     Payment due 02/01/2021
                      •     Payment due 03/01/2021
                      •     Payment due 04/01/2021
                      •     Current payment due 05/01/2021: $866.71

                                                             ***

                  Explanation of Amount Due
                   Due Date       Principal        Interest        Escrow        Other Funds     Total
                   9/1/2017          $333.55         $425.25          $92.35           $0.00     $851.15
                  10/1/2017 –     $14,732.32      $19,349.45       $7,379.26           $0.00   $41,461.03

                                                        29
     Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 30 of 54 PageID #:30



                   4/1/2020
                   5/1/2021         $440.85          $246.12         $179.74        $0.00     $866.71
                  Total Payments Due                                                        $43,178.89
                  Total Fees and Charges                                                     $6,736.15
                  Total Amount Due                                                          $49,915.04

                                                             ***

                  Transaction Activity (3/4/2021 to 4/7/2021)
                      Date     Description                                       Charges      Escrow
                   3/12/2021   Late Charge Assessment                              $38.93
                   3/18/2021   Foreclosure Expense Assessment                     $285.00
                   3/22/2021   Legal Fee Assessment                               $225.00


           92.   The Account Statement, dated April 7, 2021, stated that "$34.35 late fee may be

charged on or after 5/12/2021."

           93.   On April 13, 2021, a $34.35 late fee was assessed to Plaintiff's Loan.

           94.   Defendant mailed Plaintiff an Account Statement, dated May 5, 2021, providing,

in part:

                  Account Information—Statement Date: 5/5/2021
                  Account Number                         [REDACTED]
                  Payment Due Date                           6/1/2021
                  Total Amount Due                            $50,816.10
                       $34.35 late fee may be charged on or after 6/12/2021
                  Outstanding Principal                          $127,576.29
                                   This is not the amount to pay off your loan
                  Interest Rate (Until 3/1/2022)                           4%
                  Prepayment Penalty                                        No
                  Escrow Balance                                   -$6,431.23

                                                             ***

                  Delinquency Notice
                  You are late on your mortgage payments. Your account
                  has been referred to an attorney to initiate a
                  foreclosure action. Failure to bring your loan current may
                  result in fees and foreclosure—the loss of your home. As
                  of May 4, 2021, you are 1341 days delinquent on your
                  mortgage loan and your most delinquent payment was due
                  on 9/1/2017. This is your Recent Account History:
                      •     Payment due 12/01/2020
                      •     Payment due 01/01/2021
                      •     Payment due 02/01/2021
                      •     Payment due 03/01/2021
                      •     Payment due 04/01/2021
                      •     Payment due 05/01/2021
                      •     Current payment due 06/01/2021: $866.71

                                                        30
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 31 of 54 PageID #:31




                                                          ***

                 Explanation of Amount Due
                  Due Date       Principal      Interest        Escrow      Other Funds     Total
                  9/1/2017          $333.55       $425.25          $92.35         $0.00     $851.15
                 10/1/2017 –
                                 $15,173.17    $19,595.57       $7,559.00         $0.00   $42,327.74
                  5/1/2020
                  6/1/2021          $441.82       $245.15        $179.74          $0.00     $866.71
                 Total Payments Due                                                       $44,045.60
                 Total Fees and Charges                                                    $6,770.50
                 Total Amount Due                                                         $50,816.10

                                                          ***

                 Transaction Activity (4/8/2021 to 5/5/2021)
                     Date     Description                                      Charges      Escrow
                  4/13/2021   Late Charge Assessment                            $34.35


       95.     The Account Statement, dated May 5, 2021, stated that "$34.35 late fee may be

charged on or after 6/12/2021."

       96.     Each Account Statement is a “communication” as defined by 15 U.S.C. § 1692a(2).

       97.     At no time was the Loan reinstated or attempted to be reinstated by Plaintiff.

             ATTEMPTS TO CORRECT MORTGAGE SERVICING MISTAKES

       98.     On or around August 8, 2019, Plaintiff mailed notice of errors and request for

information ("NOE #1/RFI #1") to Defendant at 323 5th Street, Eureka, California 95501.

       99.     323 5th Street, Eureka, California 95501 was Defendant's designated address to

receive notices of errors and requests for information on August 8, 2019.

       100.    NOE #1/RFI #1 alleged, inter alia, that Defendant's April 3, 2019 through August

7, 2019 Account Statements falsely stated Plaintiff's monthly payment to be $1,020.96 as opposed

to $933.57 per the Subsequent Interest Rate Adjustment Notice, dated January 17, 2019—

ultimately, calling Plaintiff's arrears balance into question.

       101.    Defendant received NOE #1/RFI #1 on August 13, 2019.



                                                     31
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 32 of 54 PageID #:32




       102.    Defendant sent an acknowledgment of receipt, dated August 13, 2019, pursuant to

12 C.F.R. § 1024.35(d) and 12 C.F.R. § 1024.36(c).

       103.    Defendant sent a response, dated September 25, 2019, providing, in part:

               Our records show that the loan is due for the September 1, 2017 payment,
               and has a principal balance due of $127,576.29 together with any interest
               and charges that may be due. By act of Assignment of Mortgage all rights,
               title, and interest in the note and mortgage documents were transferred and
               assigned to U.S. Bank Trust National Association as Trustee of Chalet
               Series III Trust.

               Your letter disputes the amount of the indebtedness and the balance shown
               to be due. I have enclosed copies of the Payment History reflecting the
               payments received by the servicer. In addition, I am enclosing a
               Reinstatement that reflects the amount due to bring the account current.

       104.    Defendant failed to properly respond to NOE #1/RFI #1.

       105.    On information and belief, Defendant failed to conduct a reasonable investigation

into errors stated in NOE #1.

       106.    On information and belief, Defendant failed to conduct a reasonable search for the

information requested by RFI #1.

       106.    On or around October 23, 2019, Plaintiff mailed notice of errors and request for

information ("NOE #2/RFI #2") to Defendant at 323 5th Street, Eureka, California 95501.

       107.    323 5th Street, Eureka, California 95501 was Defendant's designated address to

receive notices of errors and requests for information on October 23, 2019.

       109.    NOE #2/RFI #2 alleged, inter alia, that Defendant's April 3, 2019 through October

2, 2019 Account Statements falsely stated Plaintiff's monthly payment to be $1,020.96 as opposed

to $933.57 per the Subsequent Interest Rate Adjustment Notice, dated January 17, 2019—

ultimately, calling Plaintiff's arrears balance into question.

       110.    Defendant received NOE #2/RFI #2 on October 29, 2019.

                                                  32
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 33 of 54 PageID #:33




       111.    Defendant failed to acknowledge receipt of NOE #2/RFI #2 by November 5, 2019.

       112.    Defendant failed to respond to NOE #2/RFI #2 by December 13, 2019.

       113.    On information and belief, Defendant failed to conduct a reasonable investigation

into errors stated in NOE #2.

       114.    On information and belief, Defendant failed to conduct a reasonable search for the

information requested by RFI #2.

       115.    On or around December 17, 2019, Plaintiff mailed notice of errors and request for

information ("NOE #3/RFI #3") to Defendant at 323 5th Street, Eureka, California 95501.

       116.    323 5th Street, Eureka, California 95501 was Defendant's designated address to

receive notices of errors and requests for information on December 17, 2019.

       117.    NOE #3/RFI #3 alleged, inter alia, that Defendant's April 3, 2019 through October

2, 2019 Account Statements falsely stated Plaintiff's monthly payment to be $1,020.96 as opposed

to $933.57 per the Subsequent Interest Rate Adjustment Notice, dated January 17, 2019—

ultimately, calling Plaintiff's arrears balance into question.

       118.    Moreover, NOE #3 alleged Defendant's failure to respond to NOE #2/RFI #2.

       119.    Defendant sent an acknowledgment of receipt, dated December 31, 2019, pursuant

to 12 C.F.R. § 1024.35(d) and 12 C.F.R. § 1024.36(c).

       120.    Defendant sent a written request for an extension to respond to NOE #3/RFI #3,

dated January 7, 2020, providing, in part:

               This letter is to provide a written request for an extension to respond to your
               correspondence received on December 23, 2019 requesting SN Servicing
               Corporation provide information relating to the servicing of the loan
               identified hereinabove. Please be advised that I represent U.S. Bank Trust
               National Association, as Trustee of Chalet Series III Trust and the
               information with respect to the inquiry shall be provided as required by state
               and federal law.

                                                  33
        Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 34 of 54 PageID #:34




                 Your written request enables the servicer to identify the borrower and lists
                 information sought by the borrower. Your letter requests certain
                 information concerning the account. We are still researching the records to
                 provide this information and will need additional time to respond. Please
                 consider this letter a request for an additional fifteen (15) days to respond.

          121.   The following day, Defendant sent a response, dated January 8, 2020, providing, in

part:

                 Our records show that the loan is due for the September 1, 2017 payment,
                 and has a principal balance due of $127,576.29 together with any interest
                 and charges that may be due. A Payoff Statement is enclosed. By act of
                 Assignment of Mortgage all rights, title, and interest in the note and
                 mortgage documents were transferred and assigned to U.S. Bank Trust
                 National Association as Trustee of Chalet Series III Trust.

                 The Billing Statement for April 3, 2019 does show the adjustment to your
                 account for prior servicer charges. However the subsequent Billing
                 Statements reflect the amount that was verified. These additional fees and
                 charges have increased due to late charges assessed and advances for taxes
                 and insurance. These amounts are shown in the Payoff Statement.

          122.   Defendant failed to properly respond to NOE #3/RFI #3.

          123.   On information and belief, Defendant failed to conduct a reasonable investigation

into errors stated in NOE #3.

          124.   On information and belief, Defendant failed to conduct a reasonable search for the

information requested by RFI #3.

          124.   On or around April 24, 2020, Plaintiff mailed notice of errors and request for

information ("NOE #4/RFI #4") to Defendant at 323 5th Street, Eureka, California 95501.

          125.   323 5th Street, Eureka, California 95501 was Defendant's designated address to

receive notices of errors and requests for information on April 24, 2020.

          127.   NOE #4/RFI #4 alleged, inter alia, that Defendant's April 3, 2019 through February

5, 2020 Account Statements falsely stated Plaintiff's monthly payment to be $1,020.96 as opposed

                                                  34
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 35 of 54 PageID #:35




to $933.57 per the Subsequent Interest Rate Adjustment Notice, dated January 17, 2019—

ultimately, calling Plaintiff's arrears balance into question.

       128.    Moreover, NOE #4 alleged Defendant's failure to properly respond to Plaintiff's

previous notice of errors/requests for information.

       129.    Defendant received NOE #4/RFI #4 on May 1, 2020.

       130.    Defendant sent an acknowledgment of receipt, dated May 4, 2020, pursuant to 12

C.F.R. § 1024.35(d) and 12 C.F.R. § 1024.36(c).

       131.    Defendant sent a response, dated June 15, 2020, providing, in part:

               This debt is represented by a promissory note dated February 22, 2008, in
               the principal amount of $154,000.00 made by Yury Grenadyor in favor of
               Open Mortgage. The Note provides for monthly installments that are
               adjustable based on the charged in the interest rate. Our records show that
               the loan is due for the September 1, 2017 payment. A copy of the Note is
               enclosed. By act of Assignment of Mortgage all rights, title and interest in
               the note and mortgage documents were transferred and assigned to U.S.
               Bank Trust National Association, as Trustee of Chalet Series III Trust.

               Your letter disputes the interest rate change and the balance shown to be
               due. I have enclosed a copy of the Note reflecting the original lender and
               the terms for payment. This is an adjustable rate note and the interest rate
               will change based on the index. The Interest Rate Adjustment Notice is
               based on this index.

       132.    Defendant failed to properly respond to NOE #4/RFI #4.

       133.    On information and belief, Defendant failed to conduct a reasonable investigation

into errors stated in NOE #4.

       134.    On information and belief, Defendant failed to conduct a reasonable search for the

information requested by RFI #4.

       135.    On or around July 8, 2020, Plaintiff mailed notice of errors and request for

information ("NOE #5/RFI #5) to Defendant at 323 5th Street, Eureka, California 95501.


                                                  35
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 36 of 54 PageID #:36




       136.    323 5th Street, Eureka, California 95501 was Defendant's designated address to

receive notices of errors and requests for information on July 8, 2020.

       137.    NOE #5/RFI #5 alleged, inter alia, that Defendant's April 3, 2019 through February

5, 2020 Account Statements falsely stated Plaintiff's monthly payment to be $1,020.96 as opposed

to $933.57 per the Subsequent Interest Rate Adjustment Notice, dated January 17, 2019—

ultimately, calling Plaintiff's arrears balance into question.

       138.    Moreover, NOE #5 alleged Defendant's failure to properly respond to Plaintiff's

previous notice of errors/requests for information.

       139.    Defendant failed to acknowledge receipt of NOE #5/RFI #5.

       140.    Defendant's counsel, Sottile & Barile, sent a response, dated August 4, 2020,

providing, in part:

               This letter is in response to your correspondence dated July 8, 2020,
               requesting SN Servicing Corporation to provide information relating to the
               servicing of the loan identified hereinabove. Please be advised that I
               represent U.S. Bank Trust National Association as Trustee of Chalet Series
               III Trust and the information with respect to the inquiry shall be provided
               as required by state and federal law.

               After reviewing all correspondence and all priors dispute letters that have
               been submitted it, appears that your concerns and requests have been
               addressed. Per your instructions, you have stated that we do not send any
               further certified mail, therefore, this letter is being sent to you via USPS
               Priority Mail.

       141.    Defendant, themselves, failed to properly respond to NOE #5/RFI #5.

       142.    On information and belief, Defendant failed to conduct a reasonable investigation

into errors stated in NOE #5.

       143.    On information and belief, Defendant failed to conduct a reasonable search for the

information requested by RFI #5.


                                                  36
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 37 of 54 PageID #:37




       144.    On or around August 27, 2020, Plaintiff mailed notice of errors and request for

information ("NOE #6/RFI #6") to Defendant at 323 5th Street, Eureka, California 95501.

       145.    323 5th Street, Eureka, California 95501 was Defendant's designated address to

receive notices of errors and requests for information on August 27, 2020.

       146.    NOE #6/RFI #6 alleged, inter alia, that Defendant's April 3, 2019 through March

4, 2020 Account Statements falsely stated Plaintiff's monthly payment to be $1,020.96 as opposed

to $933.57 per the Subsequent Interest Rate Adjustment Notice, dated January 17, 2019—

ultimately, calling Plaintiff's arrears balance into question.

       147.    Moreover, NOE #6 alleged Defendant's failure to respond to NOE #5/RFI #5.

       148.    Defendant sent an acknowledgment of receipt, dated September 9, 2020, pursuant

to 12 C.F.R. § 1024.35(d) and 12 C.F.R. § 1024.36(c).

       149.    Defendant sent a written request for an extension to respond to NOE #6/RFI #6,

dated October 20, 2020, providing, in part:

               This letter is to provide a written request for an extension to respond to your
               correspondence, requesting SN Servicing Corporation provide information
               relating to the servicing of the loan identified hereinabove. Please be
               advised that I represent U.S. Bank Trust National Association, as Trustee of
               Chalet Series III Trust and the information with respect to the inquiry shall
               be provided as required by state and federal law.

               Your written request enables the servicer to identify the borrower and lists
               information sought by the borrower. Your letter requests certain
               information concerning the account. We are still researching the records to
               provide this information and will need additional time to respond. Please
               consider this letter a request for an additional fifteen (15) days to respond.

       150.    Defendant sent a response, dated November 10, 2020, providing, in part:

               This debt is represented by a promissory note dated February 22, 2008, in
               the principal amount of $154,000.00 made by Yury Grenadyor in favor of
               Open Mortgage. The Note provides for monthly installments that are
               adjustable each year beginning on March 1, 2015 based on the changed in

                                                  37
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 38 of 54 PageID #:38




               the interest rate. Our records show that the loan is due for the September 1,
               2017 payment. A copy of the Note is enclosed. The interest rate has been
               adjusted each year based on the index. We have determined the amount of
               the principal and interest after a determination of the interest rate and
               amortization of the remaining balance.

               Your letter disputes the interest rate change and the balance shown to be
               due. This is an adjustable rate note and the interest rate will change based
               on the index. In addition, to the interest rate adjustment there has been an
               adjustment to the escrow balance due to the delinquency of the payments.

       151.    Defendant failed to properly respond to NOE #6/RFI #6.

       152.    On information and belief, Defendant failed to conduct a reasonable investigation

into errors stated in NOE #6.

       153.    On information and belief, Defendant failed to conduct a reasonable search for the

information requested by RFI #6.

       154.    On or around December 10, 2020, Plaintiff mailed notice of errors ("NOE #7") to

Defendant at 323 5th Street, Eureka, California 95501.

       155.    323 5th Street, Eureka, California 95501 was Defendant's designated address to

receive notices of errors and requests for information on December 10, 2020.

       156.    NOE #7 alleged, inter alia, that Defendant's April 3, 2019 through March 4, 2020

Account Statements falsely stated Plaintiff's monthly payment to be $1,020.96 as opposed to

$933.57 per the Subsequent Interest Rate Adjustment Notice, dated January 17, 2019—ultimately,

calling Plaintiff's arrears balance into question.

       157.    NOE #7 further alleged Defendant's failure to provide annual escrow account

statements for the duration of Defendant's servicing of Plaintiff's Loan.

       158.    Finally, NOE #7 alleged that Defendant furnished conflicting principal balance

amounts in Account Statements ($127,576.29); the Subsequent Interest Rate Adjustment Notice,


                                                     38
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 39 of 54 PageID #:39




dated January 17, 2019 ($121,211.33); and the Subsequent Interest Rate Adjustment Notice, dated

January 21, 2020 ($117,389.18)—although no payments were made.

       159.    Defendant received NOE #7 on December 24, 2020.

       160.    Defendant sent an acknowledgment of receipt, December 29, 2020, pursuant to 12

C.F.R. § 1024.35(d)

       161.    Defendant failed to respond to NOE #7 by February 9, 2021.

       162.    On information and belief, Defendant failed to conduct a reasonable investigation

into errors stated in NOE #7.

                       PATTERN AND PRACTICE ALLEGATIONS

       163.    Defendant's failure to comply with obligations under RESPA and Regulation X are

not isolated incidents; instead, they embody pattern and practice of noncompliance.

       164.    As of June 3, 2021, consumers, nationally, have lodged 37 consumer complaints

against Defendant; specifically, concerning "loan modification, collection, foreclosure" related to

mortgage debt.    Each such complaint is compiled in CFPB publicly accessible Consumer

Complaint Database. (https://www.consumerfinance.gov/data-research/consumer-complaints/).

       165.    As of June 3, 2021, consumers, nationally, have lodged 32 consumer complaints

against Defendant; specifically, "loan servicing, payments, escrow account" related to mortgage

debt. Each such complaint is compiled in CFPB publicly accessible Consumer Complaint

Database. (https://www.consumerfinance.gov/data-research/consumer-complaints/).

       166.    As of June 3, 2021, consumers, nationally, have lodged five consumer complaints

against Defendant; specifically, concerning "false statements or representation" related to

mortgage debt.    Each such complaint is compiled in CFPB publicly accessible Consumer

Complaint Database. (https://www.consumerfinance.gov/data-research/consumer-complaints/).

                                                39
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 40 of 54 PageID #:40




        167.   Plaintiff's cursory review of this Consumer Complaint Database makes clear that

similar RESPA violations have been committed by Defendant.



                                           DAMAGES

        168.   All Plaintiff has sought is an accurate accounting of the payments due on Plaintiff's

Loan.

        169.   Rather, as result of Defendant's failure to respond to NOE #1, NOE #2, NOE #3,

NOE#4, NOE #5, NOE #6, and NOE #7, Plaintiff is forced to endure an ongoing pattern of

incorrect account statements, misinformation, and constant anxiety and frustration that Plaintiff's

Loan accounting is inaccurate.

        170.   Defendant's actions (as well as inactions) have exacerbated Plaintiff's alleged

delinquency.

        171.   Defendant's inappropriate, lazy handling of alleged mistakes have resulted in

economic damages including:

               A.     Postage incurred by Plaintiff in sending NOE #1, NOE #2, NOE #3,

                      NOE#4, NOE #5, NOE #6, and NOE #7;

               B.     Time expended by Plaintiff in preparing NOE #1, NOE #2, NOE #3,

                      NOE#4, NOE #5, NOE #6, and NOE #7; and

               C.     Attorneys' fees incurred by Plaintiff in retaining an attorney to review

                      Defendant's accounting history for the Loan.

        172.   In addition to economic damages suffered, Plaintiff sustained non-economic

damages in an amount to be determined associated to emotional distress—resulting in anxiety,



                                                40
     Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 41 of 54 PageID #:41




depression, embarrassment, loss of sleep, and other significant manifestations of emotional

distress.

        173.   Defendant's Account Statements deceived Plaintiff into believing that Defendant is

entitled to late fees post-acceleration (absent reinstatement).

        174.   Defendant's Account Statements deceived Plaintiff into believing that Plaintiff's

Loan balance is subject to increase because of monthly late fees.

        175.   Defendant's unlawful mortgage servicing practices have resulted in hundreds of

dollars in unlawful late fees assessed to Plaintiff's Loan.

        176.   Concerned with having had his rights violated, Plaintiff engaged counsel—

expending time and incurring attorney’s fees to vindicate his rights.

                                     CLAIMS FOR RELIEF

                                           COUNT I:
                 Fair Debt Collection Practices Act (15 U.S.C. §§ 1692 et seq.)
                  (On behalf of Plaintiff and the Members of Putative Class)

        177.   All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

        178.   If late charges are tied to overdue monthly payments, the absence of any monthly

payment obligation after acceleration precludes the imposition of late charges for that period. See

Rizzo v. Pierce & Assocs., 351 F.3d 791, 794 (7th Cir. 2003) (citing sixteen cases for the

proposition that "a lender cannot demand payment of late fees for failure to make monthly

payments after the loan has been accelerated.")

        179.   While the promissory note provides for late fees when a monthly payment has not

been made within 10 days of the date on which it was due, monthly payments are not "due" once

the loan is accelerated.

                                                  41
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 42 of 54 PageID #:42




       180.    In other words, once Plaintiff's Loan was accelerated, Plaintiff's right and obligation

to make monthly payments ceased and no payment due could be considered "late."

                                  Violation of 15 U.S.C. § 1692e

       181.    Section 1692e provides:

               A debt collector may not use any false, deceptive, or misleading
               representation or means in connection with the collection of any debt.
               Without limiting the general application of the foregoing, the following
               conduct is a violation of this section.

               (2)     The false representation of—

                       (A)     the character, amount, or legal status of any debt.

               (10)    The use of any false representation or deceptive means to collect or
                       attempt to collect any debt or to obtain information concerning a
                       consumer.

       182.    Defendant's statement that "$38.93 late fee may be charged on or after 3/12/2020"

is false, deceptive, or misleading as it creates the false impression that Plaintiff is subject to late

fees; therefore, violating 15 U.S.C. §§ 1692e, e(2)(A) and e(10).

       183.    At the time Defendant sent the Letter to Plaintiff, the Loan had been accelerated.

       184.    Because the Loan had been accelerated, Defendant was no longer able to charge

late fees on the monthly payments Plaintiff owed.

                                  Violation of 15 U.S.C. § 1692f

       185.    Section 1692f provides:

       A debt collector may not use unfair or unconscionable means to collect or attempt
       to collect any debt. Without limiting the general application of the foregoing, the
       following conduct is a violation of this section:

               (1)     The collection of any amount (including any interest, fee, charge, or
                       expense incidental to the principal obligation) unless such amount
                       is expressly authorized by the agreement creating the debt or
                       permitted by law.

                                                  42
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 43 of 54 PageID #:43




15 U.S.C. § 1692f(1).

       186.    Defendant violated 15 U.S.C. § 1692f(1) by assessing in late fees to Plaintiff’s Loan

after acceleration and without reinstatement of the Mortgage and the Loan when the absence of a

monthly payment obligation after acceleration and without reinstatement precludes the imposition

of late charges for that period.

       187.    Plaintiff may enforce the provisions of 15 U.S.C. §§ 1692e, e(2)(A), e(10) and f(1)

pursuant to section k of the Fair Debt Collection Practices Act (15 U.S.C. § 1692k) which provides

"any debt collector who fails to comply with any provision of [the Fair Debt Collection Practices

Act] with respect to any person is liable to such person in an amount equal to the sum of—

       (1)     any actual damage sustained by such person as a result of such failure;

       (2)

               (A)      in the case of any action by an individual, such additional damages
                        as the court may allow, but not exceeding $1,000; or

               (B)      in the case of a class action, (i) such amount for each named plaintiff
                        as could be recovered under subparagraph (A), and (ii) such amount
                        as the court may allow for all other class members, without regard
                        to a minimum individual recovery, not to exceed the lesser of
                        $500,000 or 1 per centum of the net worth of the debt collector; and
       (3)     in the case of any successful action to enforce the foregoing liability, the
               costs of the action, together with a reasonable attorney's fee as determined
               by the court.”

       WHEREFORE, Plaintiff, on behalf of himself and the members of the Putative Class,

request the following relief:

       A.      an order granting certification of the proposed class, including the designation of

               Plaintiff as the named representative, the appointment of the undersigned as Class

               Counsel, under the applicable provisions of Fed. R. Civ. P. 23;

       B.      a finding that Defendant violated 15 U.S.C. §§ 1692e, e(2)(A), e(10) and f(1);
                                                43
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 44 of 54 PageID #:44




       C.      an order enjoining Defendant from further violation(s) of 15 U.S.C. §§ 1692e,

               e(2)(A), e(10) and f(1);

       D.      an award of any actual damages sustained by Plaintiff and the Members of the

               Putative Class as a result of Defendant’s violation(s);

       E.      an award of such additional damages to Plaintiff, as the Court may allow, but not

               exceeding $1,000;

       F.      an award of such amount as the Court may allow for all other class members, not

               to exceed the lesser of $500,000 or 1 per centum of the net worth of Defendant;

       G.      an award of costs of this action, together with reasonable attorney’s fees as

               determined by this Court; and

       H.      an award of such other relief as this Court deems just and proper.

                                         COUNT II:
                Regulation X (12 C.F.R. § 1024 et seq. and 12 U.S.C. § 2605(k))
                             (On behalf of Plaintiff, individually)

       188.    All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

       189.    12 C.F.R. § 1024.35(a) provides:

               (a) Notice of error. A servicer shall comply with the requirements of this
               section for any written notice from the borrower that asserts an error and
               that includes the name of the borrower, information that enables the servicer
               to identify the borrower's mortgage loan account, and the error the borrower
               believes has occurred. A notice on a payment coupon or other payment form
               supplied by the servicer need not be treated by the servicer as a notice of
               error. A qualified written request that asserts an error relating to the
               servicing of a mortgage loan is a notice of error for purposes of this section,
               and a servicer must comply with all requirements applicable to a notice of
               error with respect to such qualified written request.



                                                 44
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 45 of 54 PageID #:45




       190.    Indeed, pursuant to 12 C.F.R. § 1024.35(e)(1)(i), a servicer must respond to a notice

of errors in one of two ways—either by correcting the error or, upon conducting a reasonable

investigation, notifying the borrower that the servicer has determined that no error has occurred.

12 C.F.R. §§ 1024.35(e)(1)(i)(A), (B).

       191.    12 U.S.C. § 2605(k)(1)(C) provides:

               (1) In general. A servicer of a federally related mortgage shall not—

                      ***

               (C)    Fail to take timely action to respond to a borrower's request to
                      correct errors relating to allocation of payments, final balances for
                      purposes of paying off the loan, or avoiding foreclosure, or other
                      standard servicer's duties.

       192.    NOE #1, NOE #2, NOE #3, NOE#4, NOE #5, NOE #6, and NOE #7 each meet

requirements of notice of errors as defined by 12 C.F.R. § 1024.35(a) as each contained Plaintiff's

name, loan number, property address, and stated the errors Plaintiff believed to have occurred. See

12 C.F.R. § 1024.35(a)

       193.    Plaintiff sent NOE #1, NOE #2, NOE #3, NOE#4, NOE #5, NOE #6, and NOE #7

to Defendant at Defendant's designated address to receive notices of errors.

       194.    Defendant wholly failed to respond to NOE #2, NOE #5, and NOE #7.

       195.    Defendant failed to correct or perform reasonable investigation into errors alleged

in NOE #1, NOE #2, NOE #3, NOE#4, NOE #5, NOE #6, and NOE #7.

       196.    Defendant's failures have caused Plaintiff to suffer actual damages as alleged supra.

       197.    Defendant's failure to respond to, correct, or properly investigate alleged errors

constitutes numerous separate violations of 12 C.F.R. § 1024.35(e) and 12 U.S.C. §§

2605(k)(1)(C) and (E).


                                                45
        Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 46 of 54 PageID #:46




          198.   Defendant's actions are believed to be part of pattern and practice of behavior in

conscious disregard for Plaintiff's consumer rights—in abdication of obligations and duties under

RESPA and Regulation X.

          199.   12 C.F.R. § 1024.36(a) provides:

                 (a) Information request. A servicer shall comply with the requirements of
                 this section for any written request for information from a borrower that
                 includes the name of the borrower, information that enables the servicer to
                 identify the borrower's mortgage loan account, and states the information
                 the borrower is requesting with respect to the borrower's mortgage loan. A
                 request on a payment coupon or other payment form supplied by the
                 servicer need not be treated by the servicer as a request for information. A
                 request for a payoff balance need not be treated by the servicer as a request
                 for information. A qualified written request that requests information
                 relating to the servicing of the mortgage loan is a request for information
                 for purposes of this section, and a servicer must comply with all
                 requirements applicable to a request for information with respect to such
                 qualified written request.

          200.   Indeed, pursuant to 12 C.F.R. § 1024.36(d)(1), a servicer must respond to an

information request by either—providing the borrower with the requested information and contact

information, including a telephone number, for further assistance in writing, or conducting a

reasonable search for the requested information and providing the borrower with a written

notification that states that the servicer has determined that the requested information is not

available to the servicer, provides the basis for the servicer's determination, and provides contact

information, including a telephone number, for further assistance. 12 C.F.R. §§ 1024.36(d)(1)(i),

(ii).

          201.   Furthermore, pursuant to 12 C.F.R. § 1024.36(d)(2)(i)(B), "[a] servicer must

comply with the requirements of paragraph (d)(1) of this section … not later than 30 days



                                                  46
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 47 of 54 PageID #:47




(excluding legal public holidays, Saturdays, and Sundays) after the servicer receives the

information request.

       202.     RFI #1, RFI #2, RFI #3, RFI #4, RFI #5, RFI #6, and RFI #7, each meet

requirements of information requests as defined by 12 C.F.R. § 1024.36(a) as each contained

Plaintiff's name, loan number, property address, and the information Plaintiff was requesting. See

12 C.F.R. § 1024.36(a)

       203.     Plaintiff sent RFI #1, RFI #2, RFI #3, RFI#4, RFI #5, RFI #6, and RFI #7 to

Defendant at Defendant's designated address to receive information requests.

       204.     Defendant wholly failed to provide information in response to RFI #2, RFI #5, and

RFI #7 in violation of 12 C.F.R. § 1024.36(d).

       205.     Defendant failed to conduct reasonable search for the requested information in

response to RFI #1, RFI #2, RFI #3, RFI#4, RFI #5, RFI #6 and RFI #7 in violation of 12 C.F.R.

§ 1024.36(d).

       206.     Defendant's failures have caused Plaintiff to suffer actual damages as alleged supra.

       207.     Defendant's failure to provide information or conduct reasonable search for the

requested information constitutes numerous separate violations of 12 C.F.R. § 1024.36(d) and 12

U.S.C. §§ 2605(k)(1)(C) and (E).

       208.     Defendant's actions are believed to be part of pattern and practice of behavior in

conscious disregard for Plaintiff's consumer rights—in abdication of obligations and duties under

RESPA and Regulation X.

       209.     Plaintiff may enforce the provisions of 12 C.F.R. §§ 1024.35(e) and 1024.36(d)

pursuant to 12 U.S.C. § 2605(f) which provides "[w]however fails to comply with any provision

of this section shall be liable to the borrower for each such failure in the following amounts:

                                                 47
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 48 of 54 PageID #:48




               (1) Individuals. In the case of any action by an individual, an amount equal
               to the sum of—

                       (A)       any actual damages to the borrower as a result of the failure;
                                 and

                       (B)       any additional damages, as the court may allow, in the case
                                 of a pattern or practice of noncompliance with the
                                 requirements of this section, in an amount not to exceed
                                 $2,000.00.

               (3) Costs. In addition to the amounts under paragraphs (1) or (2), in the case
               of any successful action under this section, the costs of the actions, together
               with any attorney's fees incurred in connection with such action as the court
               may determine under the circumstances.

       WHEREFORE, Plaintiff requests the following relief:

       A.      find Defendant in violation of 12 C.F.R. §§ 1024.35(e) and 1024.36(d);

       B.      award any actual damages to Plaintiff as a result of Defendant's violation;

       C.      award any additional damages, as the Court may allow, in an amount not to exceed

               $2,000.00 for each such violation;

       D.      award the costs of the action, together with any attorneys’ fees incurred in

               connection with such action as the Court may determine to be reasonable under the

               circumstances; and

       E.      award such other relief as this Court deems just and proper.

                                         COUNT III:
  Illinois Consumer Fraud and Deceptive Business Practices Act (815 ILCS 505/1 et seq.)
                 (On behalf of Plaintiff and the Members of Putative Class)

       210.    All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

       211.    Section 2 of ICFA provides:



                                                   48
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 49 of 54 PageID #:49




               Unfair methods of competition and unfair or deceptive acts or practices,
               including but not limited to the use or employment of any deception, fraud,
               false pretense, false promise, misrepresentation or the concealment,
               suppression, or omission of any material fact, with intent that others rely
               upon the concealment, suppression or omission of such material fact, or the
               use or employment of any practice described in Section 2 of the "Uniform
               Deceptive Trade Practices Act", approved August 5, 1965, in the conduct
               of any trade or commerce are hereby declared unlawful whether any person
               has in fact been deceived, or damaged thereby. In construing this section
               consideration shall be given to the interpretations of the Federal Trade
               Commission and the federal courts relating to section 5(a) of the Federal
               Trade Commission Act.

       212.    Defendant violated 815 ILCS 505/2 by engaging in the following acts or practices

in the course of mortgage servicing:

               A.      Assessing late charges to Plaintiff's Loan after acceleration and without

                       reinstatement of the Mortgage and the Loan when the absence of a monthly

                       payment obligation after acceleration and without reinstatement precludes

                       the imposition of late charges for that period.

               B.      Charging inaccurate amounts.

               C.      Representing to Plaintiff that they were subject to late charges after

                       acceleration and without reinstatement of the Mortgage and the Loan when

                       the absence of a monthly payment obligation after acceleration and without

                       reinstatement precludes the imposition of late charges for that period.

       213.    Defendant's complained-of behavior constitutes unfair methods of competition and

unfair and deceptive acts and practices including, but not limited to the use and employment of

deception, fraud, misrepresentation and the concealment, suppression, and omission of material

facts, with intent that others rely thereon in violation of 815 ILCS 505/2.




                                                 49
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 50 of 54 PageID #:50




       214.    Specifically, it is unfair and deceptive for Defendant to assess late fees when they

were legally unable to do so.

       215.    Moreover, it is unfair and deceptive for Defendant to charge inaccurate/incorrect

monthly mortgage payments amounts.

       216.    Defendant's complained-of unlawful conduct was willful and intentional, with

deceptive intent, making this an exceptional case.

       217.    Defendant's complained-of unlawful conduct was intended to be relied upon by

Plaintiff to induce Plaintiff into making monthly payments.

       218.    Defendant's complained-of unlawful conduct have caused, and will continue to

cause, great immediate and irreparable harm to Plaintiff, and consumers generally.

       219.    Moreover, Defendant is unjustly enriched by assessing (and ultimately collecting)

improper late fees to consumers' mortgages.

       220.    Plaintiff (and consumers generally) have no choice except to subject to Defendant's

complained-of unlawful conduct.

       221.    The substantial injuries complained of are not reasonably avoidable by Plaintiff and

are not outweighed by countervailing benefit to Plaintiff.

       222.    Defendant's complained-of unlawful conduct violates public policy and sheds light

on an industry where business decisions are driven by profit—at expense of consumers.

       223.    Punitive damages are warranted as Defendant's complained-of unlawful conduct is

outrageous, wanton, and willful, oppressive, against public policy, and demonstrates a conscious

disregard and indifference not only for the rights of Plaintiff, but consumers generally who

reasonably anticipate that mortgage servicers:



                                                 50
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 51 of 54 PageID #:51




               A.      Will communicate accurately and truthfully regarding their mortgage loan

                       accounts;

               B.      Will not make false and misleading statements regarding their mortgage

                       loan accounts;

               C.      Will adhere to consumer financial laws as well as investor/mortgage

                       servicing guidelines; and

               D.      Will not charge fees that they are not entitled to.

       224.    Defendant’s complained-of unlawful conduct is part of a pattern and practice in

which Defendant routinely engages in as part of its business model.

       225.    Defendant's actions have caused Plaintiff to suffer actual damages as alleged supra.

       226.    Punitive damages are warranted to deter Defendant from future misconduct.

       WHEREFORE, Plaintiff, on behalf of himself and the members of the Putative Class,

request the following relief:

       A.      an order granting certification of the proposed class, including the designation of

               Plaintiff as the named representative, the appointment of the undersigned as Class

               Counsel, under the applicable provisions of Fed. R. Civ. P. 23;

       B.      a finding that Defendant violated 815 ILCS 505/2;

       C.      an order enjoining Defendant from further violation(s) of 815 ILCS 505/2;

       D.      an award of any actual damages sustained by Plaintiffs and the Members of the

               Putative Class as a result of Defendant’s violation(s);

       E.      an award of exemplary and punitive damages for Defendant’s unfair and deceptive

               acts and practices;



                                                   51
    Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 52 of 54 PageID #:52




       F.      an award of the costs of the action, together with any attorneys’ fees incurred in

               connection with such action as the Court may determine to be reasonable under the

               circumstances; and

       G.      an award of such other relief as this Court deems just and proper.

                                    CLASS ALLEGATIONS

       227.    All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

       228.    Plaintiff brings this action pursuant to and Fed. R. Civ. P. 23, individually, and on

behalf of all others similarly situated (“Putative Class”)

       229.    The FDCPA putative class is defined as follows:

       All persons within the State of Illinois to whom (a) within the one (1) year prior to
       filing of the original complaint and during its pendency; (b) were assessed late
       charges by Defendant; (c) after the loan was accelerated; and (d) where the
       person(s) did not invoke their right under the mortgage (or by statute) to reinstate.

       230.    The ICFA putative class is defined as follows:

       All persons within the State of Illinois to whom (a) within the three (3) years prior
       to filing of the original complaint and during its pendency; (b) were assessed late
       charges by Defendant; (c) after the loan was accelerated; and (d) where the
       person(s) did not invoke their right under the mortgage (or by statute) to reinstate.

       231.    The following individuals are excluded from the Putative Class: (1) any Judge or

presiding over this action and members of their families; (2) Defendant, Defendant’s subsidiaries,

parents, successors, predecessors, and any entity in which Defendant or their parents have a

controlling interest and their current or former employees, officers and directors; (3) Plaintiff’s

attorneys; (4) persons who properly execute and file a timely request for exclusion from the

Putative Class; (5) the legal representatives, successors or assigns of any such executed persons;



                                                 52
     Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 53 of 54 PageID #:53




and (6) persons whose claims against Defendant have been fully and finally adjudicated and/or

released.

        A.      Numerosity:

        232.    The exact number of members of the Putative Class are unknown and not available

to Plaintiffs at this time, but it is clear that individual joinder is impracticable.

        233.    On information and belief, Defendant services mortgages for hundreds of

consumers who fall into the definition of the Putative Class.

        234.    Members of the Putative Class can be objectively identified from records of

Defendant to be gained in discovery.

        B.      Commonality and Predominance:

        225.    There are many questions of law and fact common to the claims of Plaintiff and the

Putative Class and those questions predominate over any questions that may affect individual

members of the Putative Class.

        C.      Typicality.

        226.    Plaintiff’s claims are typical of members of the Putative Class because Plaintiff and

members of the Putative Class are entitled to damages as result of Defendant’s conduct.

        D.      Superiority and Manageability.

        227.    This case is also appropriate for class certification as class proceedings are superior

to all other available methods for the efficient and fair adjudication of this controversy.

        228.    The damages suffered by the individual members of the Putative Class will likely

be relatively small, especially given the burden and expense required for individual prosecution.

        229.    By contrast, a class action provides the benefits of single adjudication, economies

of scale and comprehensive supervision by a single court.

                                                   53
     Case: 1:21-cv-02980 Document #: 1 Filed: 06/03/21 Page 54 of 54 PageID #:54




         230.   Economies of effort, expense, and time will be fostered, and uniformity of decisions

ensured.

         E.     Adequate Representation.

         231.   Plaintiff will adequately and fairly represent and protect the interests of the Putative

Class.

         232.   Plaintiff has no interests antagonistic to those of the Putative Class, and Defendant

has no defenses unique to Plaintiff.

         233.   Plaintiff has retained competent and experienced counsel in consumer class action

litigation as well as mortgage servicing litigation.

                                   DEMAND FOR JURY TRIAL

         Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury of any and all issues in

this action so triable of right.

 DATED: June 3, 2021                                   Respectfully submitted,

                                                       YURY GRENADYOR

                                                       By: /s/ Joseph S. Davidson

                                                       Joseph S. Davidson
                                                       LAW OFFICES OF JOSEPH P. DOYLE LLC
                                                       105 South Roselle Road
                                                       Suite 203
                                                       Schaumburg, Illinois 60193
                                                       +1 847-985-1100
                                                       jdavidson@fightbills.com




                                                  54
